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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 21-cv-02595-NYW-NRN

  CHARLES WILLIAMS,

  Plaintiff,

  v.

  COLORADO DEPARTMENT OF CORRECTIONS,

  Defendant.

                                      MINUTE ORDER

  Entered by Magistrate Judge N. Reid Neureiter

        It is hereby ORDERED that Defendant’s Unopposed Motion to Vacate and Reset
  December 14, 2022 Scheduling Conference (Dkt. #32) is GRANTED. The Scheduling
  Conference set for December 14, 2022 at 2:30 p.m. is VACATED and RESET to
  February 2, 2023 at 9:30 a.m. The proposed Scheduling Order is due on or before
  January 26, 2023.

        The parties are directed to call the conference line as a participant at (888) 398-
  2342, Access Code 5755390# at least five minutes prior to the hearing’s start.

  Date: December 8, 2022
